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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA,
                                          Criminal No. 93-536-01 (JBS)
                  Plaintiff,                            &
                                             Civil No. 08-1475 (JBS)
      v.

RICHARD BALTER, et al.,                                  ORDER

                  Defendants.

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RICHARD BALTER,

            Petitioner,

      v.

UNITED STATES OF AMERICA,

            Respondent.




     This matter having come before the Court upon Petitioner's

request for a writ of mandamus [Civil No. 08-1475, Docket Item

1], Petitioner's request for appointment of counsel [Civil No.

08-1475, Docket Item 10], and Petitioner's motion for discovery

[Criminal No. 93-536-01, Docket Item 20]; the Court having

considered the submissions of the parties; for the reasons

explained in the Opinion of today’s date; and for good cause

shown;

     IT IS this       29th        day of March, 2010 hereby

     ORDERED that the petition for writ of mandamus [Civil No.
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08-1475, Docket Item 1], Petitioner's request for appointment of

counsel [Civil No. 08-1475, Docket Item 10], and Petitioner's

motion for discovery [Criminal No. 93-536-01, Docket Item 20] are

all DENIED; and it is further

     ORDERED that the Clerk of Court shall close these dockets.



                                   s/ Jerome B. Simandle
                                  JEROME B. SIMANDLE
                                  United States District Judge




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